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                                                         April 28, 2025

  VIA ECF

  Hon. Michael A. Hammer
  United States Magistrate Judge
  50 Walnut Street
  Newark, New Jersey 07101

                         Re:     Agdal v. Danis
                                 Civil No. 23-16873 (MCA)(MAH)

  Dear Judge Hammer:

         Please accept this letter in response to Plaintiff’s April 23, 2025 letter asking the Court to
  compel Defendant to provide them with the password to his old mobile telephone and to produce
  materials responsive to Plaintiff’s Second Set of Requests for Production of Documents.

           With respect to the mobile telephone, counsel’s understanding is that Mr. Danis does not
  recall the password to his old mobile telephone. The password referenced at page 123 of Mr.
  Danis’ deposition transcript is the password for his replacement mobile telephone and iCloud
  account, which undersigned counsel reviewed; responsive materials were produced to Plaintiff.
  As indicated in Plaintiff’s letter, it was understood that if the old telephone could be resurrected,
  nothing would happen until search protocols were agreed upon as it would be unfairly intrusive
  for a stranger to have access to, and to review, Mr. Danis’ telephone, which contains a significant
  amount of very personal, non-responsive material, as counsel is aware from having reviewed Mr.
  Danis’ current mobile telephone. Therefore, if the telephone can be accessed then it should be
  returned to Defendant’s counsel to attempt to access it and, if successful, to review any material
  on the telephone for relevance.

          With respect to Plaintiff’s Second Set of Requests for Production of Documents, Plaintiff’s
  counsel continues to treat Mr. Danis as if he were a Fortune 500 corporation. My understanding
  is that Mr. Danis does not possess documents regarding his internet searches, his data retention
  settings on his iPhone, or repair records. Plaintiff’s counsel took Mr. Danis’ deposition and had
  the opportunity to ask him about it. To the extent Plaintiff seeks documents that are not in Mr.
  Danis’ possession, they can subpoena them from third parties.

          Finally, none of this information is relevant to the issues in this case, specifically, whether
  Mr. Danis knew that the at-issue photo of Plaintiff was taken without her consent, or otherwise
  acted with reckless disregard of whether it was taken without consent. That picture was – and
  continues to be – available on the internet, along with a plethora of other nude and semi-nude
  photos of Plaintiff that, as Plaintiff admitted at her deposition, were taken with her consent. Under
  such circumstances, there is no basis for a reasonable jury to conclude that Mr. Danis – or anyone
  else – would have any reason to believe that this was the one photo of Plaintiff available on the
  Internet that was taken without her consent. No amount of internet search history or iPhone repair
  records is going to change that.
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          Plaintiff cannot articulate what she expects to find on Mr. Danis’ old telephone that they
  have not already obtained through FaceBook, What’s App, and other third-party subpoenas. For
  these reasons, the Court should deny Plaintiff’s request.

                                                      Respectfully yours,


                                                      Mark A. Berman, Esq.

  cc: All Counsel of Record (via ECF)
